                                                               United States Bankruptcy Court
                                                                         District of Oregon
 In re      NORPAC Foods, Inc.                                                                           Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for NORPAC Foods, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 August 22, 2019                                                     /s/ Timothy J. Conway
 Date                                                                Timothy J. Conway 851752
                                                                     Signature of Attorney or Litigant
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